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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 IN RE FOREIGN EXCHANGE BENCHMARK :                                13 Civ. 7789 (LGS)
 RATES ANTITRUST LITIGATION                                   :
                                                              :          ORDER
                                                              :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on October 29, 2020, both Plaintiffs and Defendant Credit Suisse filed pre-

motion letters in anticipation of their respective motions for summary judgment. Dkt. No. 1518,

1519.

        WHEREAS, on November 10, 2020, the parties filed a letter proposing a briefing

schedule contemplating a total of six memoranda of law, when the Court’s practice is to accept

four memoranda of law on cross-motions. Dkt. No. 1543.

        WHEREAS, pursuant to the Seventh Amended Civil Case Management Plan and

Scheduling Order (Dkt. No. 1454), a case management conference is scheduled for November 12,

2020. It is hereby

        ORDERED that the case management conference scheduled for November 12, 2020, is

CANCELLED. It is further

        ORDERED that the parties shall brief their proposed motions for summary judgment

according to the following schedule:

                 •    Defendant Credit Suisse shall file its Opening Brief, not to exceed thirty-seven

                      (37) pages, by January 29, 2021;

                 •    Plaintiffs shall file their Opening/Responsive Brief, not to exceed fifty-seven

                      (57) pages, by March 5, 2021;

                 •    Defendant Credit Suisse shall file its Responsive/Reply Brief, not to exceed
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                     thirty-eight (38) pages, by April 9, 2021; and

                 •   Plaintiffs shall file their Reply Brief, not to exceed eighteen (18) pages, by

                     April 28, 2021.

It is further

          ORDERED that, notwithstanding the aforementioned page allocations, the parties may

reallocate the page numbers as they deem appropriate, so long as no party exceeds seventy-five

(75) pages of briefing in total. The parties shall otherwise comply with the Court’s Individual

Rules, and if in effect, the Emergency Individual Rules and Practices in light of COVID-19. It is

further

          ORDERED that the parties shall serve the motion papers by the deadlines set forth above,

and by April 30, 2021, shall file the motion papers on the docket, along with any request to file

certain materials under seal. It is further

          ORDERED that by January 22, 2021, the parties shall jointly file any letter requesting

relief from the Court’s Individual Rules III.B.3 and III.C.6.

          The Clerk of Court is respectfully directed to close the motions at Docket Nos. 1518 and

1519.



Dated: November 12, 2020
       New York, New York




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